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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA



MARK W. LATIMER,                                     )
                                                     )
                              Petitioner,            )
        vs.                                          )      2:06-cv-008-RLY-WGH
                                                     )
MARK A. BEZY, Warden,                                )
                                                     )
                              Respondent.            )




                  Entry Discussing Petition for Writ of Habeas Corpus

        Because a federal court may issue a writ of habeas corpus pursuant to 28 U.S.C.
§ 2241(c)(3) only if it finds the applicant “is in custody in violation of the Constitution or laws
or treaties of the United States,” because petitioner Latimer has done no more in this action
than state his view that he has been improperly sentenced by a Minnesota state court, and
because such a claim does not suggest any basis on which to conclude that either his
current federal custody or the detainer lodged with his custodian were based on the
Minnesota sentence, Latimer’s habeas petition is summarily denied and this action is
dismissed.

       Judgment consistent with this Entry shall now issue. Nothing in the disposition of this
action, however, shall be construed as precluding a challenge by Latimer in an appropriate
forum to the state sentence or to the term of probation associated with that sentence.

        IT IS SO ORDERED.




                                                  _______________________________
Date:         02/22/2006
                                                   RICHARD L. YOUNG, JUDGE
                                                   United States District Court
                                                   Southern District of Indiana
